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10
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11    State Farm Mutual Automobile Insurance Company and
      State Farm County Mutual Insurance Company
12
                                   UNITED STATES DISTRICT COURT
13
14                               CENTRAL DISTRICT OF CALIFORNIA

 15   STATE FARM MUTUAL                                 Case No. 2: 1 0-cv-0 13 3 2-AHM (FFMx)
      AUTOMOBILE INSURANCE
 16   COMPANY and STATE FARM                            JOINT WITNESS LIST
      COUNTY MUTUAL INSURANCE
 17   COMPANY OF TEXAS,
 18
                         Plaintiffs,
 19
                   VS.
20
21     SLAVIK STEIN, et al.,

22                       Defendants.
23                 VS.

24     SLAVIK STEIN, et al.,
25
                         Third-Party Respondents.
26
27
28
                                             JOINT WITNESS LIST
                                                                         2: 1O-cv-01332-AHM (FFMx)
      1315671170
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  1          Plaintiffs State Farm Mutual Automobile Insurance Company and State Farm
 2    County Mutual Insurance Company ("Plaintiffs") submit that they plan to call the
 3    following persons as witnesses at trial in this matter:
 4
 5     Number                Name                 If Objection, State   Response to
 6                                                     Grounds           Objection
 7    PW 1        Jacqueline Stein
 8                950 N. King Road
 9                Unit 116
10                West    Hollywood,      CA
11                90069
12     PW 2       Yuri Stein
13                4660 Coldwater Canyon
14
 15
 16
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Case 2:10-cv-01332-AHM-FFM Document 100 Filed 05/09/11 Page 3 of 5 Page ID #:1605



  1
                        (323) 378-5422
 2
       PW 6* *          Marina Stein* *
 3
                        5353 Wilshire Blvd.
 4
                        Unit 313
 5
                        Los Angeles, CA 90036
 6
                        (213)944-7050
 7
       PW 7**           Semyon Sp ector**
 8
                        731 N. Kikea Dr.
 9
                        Los Angeles, CA 90046
10
                   * * denotes that Plaintiffs may call this witness
11
                   Third-Party Respondents Marina Stein and Field Chasers, Inc. ("Third Party
IPI
      Respondents") submit that they plan to call the following persons as witnesses at trial
13
      in this matter:
14
15
       Number                  Name            If Objection, State Grounds   Response to Objection
16
       TPR              Marina Stein          Fed. R. Evid. § 601; Fed. R.   None          of         the
17
       W8                                     Evid. § 602; California’s authorities cited are
18
                                              Evidence Code § 701.           on point. In fact they
19
                                              See previous separately filed allow Marina Stein to
20
                                              Plaintiffs’     Motion     in testify    -        she    is
21
                                              Limine To Bar Testimony presumed competent.
22
                                              Of Marina Stein [Dkt. # 90].   See previously filed
23
                                                                             Points and Authorities
24
                                                                             in     Opposition         to
25
                                                                             Motion        to         Bar
26
                                                                             Testimony [Dkt. # 94]
27
       TPR              Semyon Spector        Fed. R. Civ. P. § 403. This rule is not on
28                                                    2
                                                JOINT WITNESS LIST
                                                                       2:10-CV-013332 AIIM (FFMx)
      31567117v1
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  1
      W9                          Plaintiffs     were       informed point. No basis     -   no
  2
                                  when    they      attempted     to excuse for failure to
  3
                                  serve    Mr.       Spector     for depose.         Hearsay
  4
                                  deposition in February of objection.             Clear that
  5
                                  2011         (including      being no        service       of
  6
                                  informed by counsel            for subpoena                for
  7
  8
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  1
                                          Brodsky as she was outside       provides for out-of-
 2
                                          of the      courts’    subpoena United                    States
 3
                                          powers.      Allowing her to depositions.           Rule 29
 4
                                          now testify at trial will allows                parties       to
 5
                                          unfairly prejudice Plaintiffs,   stipulate                    to
 6
                                          See also Plaintiffs’ Motion depositions anywhere.
 7
                                          In       Limine       To   Bar No attempts to do so.
 8
                                          Declaration Of Ella Brodsky      In any event, no basis
 9
                                           [Dkt. # 91].                    to      bar      testimony.
10
                                                                           Also, see previously
11
                                                                           filed         Points       and
12
                                                                           Authorities                  in
13
                                                                           Opposition to Motion
14
                                                                           to Bar. [Dkt#95]
15
16                Plaintiffs and Third-Party Respondents hereby expressly reserve the right to
17
      amend or otherwise modify this Witness List.
18
19    DATED: May 9, 2011                           KATTEN MUCFIIN ROSENMAN
20
21                                                 By: Is!       Stuart M. Richter
                                                           Stuart M. Richter
22                                                 Attorneys for Plaintiffs State Farm Mutual
                                                   Automobile Insurance Company and State
23                                                 Farm County Mutual Insurance Company

24    DATED: May 9, 2011                           LAW OFFICE OF GERALD I. NEITER
25
                                                   By: /s!       Gerald I. Neiter
26                                                         Gerald I. Neiter
                                                   Attorneys for Third Party Respondents Marina
27                                                 Stein and Field Chasers, Inc.
28                                                     4
                                               JOINT WITNESS LIST
                                                                      2:10-CV-013332 AIIM (FFMx)
      315671170
